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AG 83 (Rev. 12185) Summons in a Criminal Case

                                                      RETURN OF SERVICE
                                                                Date
 Service was made by me on:

                                    Check one box below to indicate appropriate method of service


         Served personally upon the defendant at:         31 0o,              Cfiej7z.

     D Left summons at the defendant's dwelling house or usual place of abode with a person of suitable age and
        discretion then residing therein and mailed a copy of the summons to the defendant's last known address.
         left:


     E Returned unexecuted:




                                                                                                                        41




    I declare under penalty of perjury under the laws of the United States of America that the foregoing
    information contained in the Return of Service is true and correct.


     Returned
     On             Date                                        Name of United States Marshal

                                                                                       /
                                                                (by) Deputy United State Marsha



     Remarks:                                                                                              -
                                                                                                                   cJ
